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                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

KENNY A., by his next friend            )
LINDA WINN, et. aI.,                    )
                                        )   CIVIL ACTION NO
      Plaintiffs,                       )   l:02-CV-J686-MHS
                                        )
       v.                               )
                                        )
SONNY PERDUE, et al.                    )
                                        )
      Defendants.


   _ _ CONSENT ORDER TO TERMINATE MODIFIED
 CON~E WITH DEFENDANT FULTON COUNTY AND FOR
 APPROVAL OF NEGOTIATED ATTORNEYS' FEES AND EXPENSES

      WHEREFORE, this matter came before this Court on Plaintiffs' and Fulton

County Defendants' Joint Consent Motion requesting that, in light of Fulton

County's substantial compliance with all of the provisions of the Modified Consent

Decree for a continuous eighteen-month period, and in light of the enormous

strides the County has made in improving the quality of representation provided to

the Class Member Children, this Court enter an Order: (1) finding Defendant

Fulton County in compliance with the Modified Consent Decree as required by its

terms; (2) approving the Parties' negotiated agreement regarding Plaintiffs'

reasonable attorneys' fees and expenses for the monitoring and enforcement of the
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Fulton County Consent Decree without the expense of additional class notice; and

(3) tenninating jurisdiction over and dismissing this action as it pertains to

Defendant Fulton County and the Modified Consent Decree.

      WHEREFORE, over eight years ago, on June 6, 2002, Plaintiffs filed this

civil rights lawsuit alleging, with respect to Defendant Fulton County, that the

County was violating the civil rights of children in foster care by failing to provide

them with adequate, effective and zealous legal representation before the juvenile

court; and

      WHEREFORE, on February 13, 2006, Plaintiffs and Fulton County entered

into a comprehensive Consent Decree under which the County agreed to:              (1)

establish an independent office to employ Fulton County Child Attorneys; (2)

implement standards for the workloads of Child Attorneys established by an

independent Workload Study; (3) employ a sufficient number of trained Child

Attorneys to ensure all Plaintiff Class Members receive adequate, effective and

zealous legal representation throughout their experience with the Fulton County

Juvenile Court; and, (4) ensure all Child Attorneys adopt and abide by specific

guidelines and responsibilities established in the Consent Decree and relating to all

major aspects of their legal representation of Class Member Children.




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      WHEREFORE, since the Consent Decree was entered, Fulton County has

met its obligation to establish an independent Office of the Child Attorney, which

is currently staffed with a dramatically expanded number of trained and qualified

Child Attorneys. The Office of the Child Attorney currently employs a Director,

two case-carrying supervisors, 14 full-time Child Attorneys, two full-time contract

attorneys, four administrative staff members, four investigators, a social worker, an

educational advocate and a host of legal and social work interns. Staffing now

exceeds the attorney case load requirements established pursuant to the Consent

Decree, and has vastly improved the quality of representation provided to Fulton

County's foster children.

      WHEREFORE, the quality of representation provided to foster children in

Fulton County has evolved to the point that the court-appointed Accountability

Agent overseeing the implementation of the Consent Decree stated in a recent

compliance report filed with this Court in November 2010:

      While the progress of the Fulton [Office of the Child Attorney] was
      first reported to be "slow but steady," the Third Kenny A. Report
      described the [Office] as having arrived at a "higher level of Kenny A.
      compliance." During this Fourth Reporting Period, advances made
      during the Third Reporting Period have not only continued but have
      been enhanced with new programs and increased support. During this
      Fourth Reporting Period, the Fulton [Office of the Child Attorney] has
      demonstrated the standards set by the Kenny A. Consent Decree are
      implemented and adopted as the standards of practice for the Fulton
      Child Attorneys.
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(Fourth Kenny A. Report For Fulton County (Dkt. No. 664) at 114.)

      WHEREFORE, the amount of $145,000 that Defendants agree to pay

Plaintiffs' in attorneys' fees and expenses for more than four years of active

monitoring activity and enforcement activity is reasonable.

      WHEREFORE, the notice requirements of Rule 23(h) of the Federal Rules

of Civil Procedure do not apply and would be unduly burdensome in these

circumstances where fees and expenses are sought in connection with post­

settlement monitoring and enforcement activities.

      NOW THEREFORE, in light of the County's substantial compliance with

all material aspects of the Consent Decree for eighteen consecutive months, the

enormous strides the County has made in improving the quality of representation

provided to the Class Member Children, and the reasonableness of the amount of

attorneys' fees and expenses to be paid by Fulton County to Plaintiffs, IT IS

HEREBY ORDERED that:

1.    This Court's jurisdiction over all requirements of the Consent Decree

      entered into by Plaintiffs and Fulton County is terminated.

2.    Defendants shall pay Plaintiffs $145,000 in reasonable attorneys' fees and

      expenses, without further notice to the class.


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This   ~ay of April, 2011.
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                                   United States District Court
                                   Northern District of Georgia

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